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                        UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                               TYLER DIVISION



   CHAMBER OF COMMERCE OF THE
   UNITED STATES OF AMERICA, et al.,

                  Plaintiffs,
                                                                    Case No. 6:24-cv-00148
   v.

   FEDERAL TRADE COMMISSION, et al.,

                  Defendants.


                                    [PROPOSED] ORDER

         Upon consideration of Defendants’ Motion to Limit Relief to Plaintiffs’ Identified

  Members, or in the Alternative, Transfer Venue under the First-to-File Rule, Defendants’

  motion is HEREBY GRANTED.

         Any relief in this matter shall be limited to Plaintiffs’ specifically identified members.

         SO ORDERED.
